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UN|TED STATES OF AMER|CA,

 

Plaintiff,

VS.
CFL NO. 04-20159-B

LA KE|TH HAN]PTON,

Defendants.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for a change of plea date on July 21, 2005. Counsel for the
defendant requested a continuance for change of plea date by written motion. The lVlotion
was G-ranted and a new changgnglea date was set for Tuesdav. August 9, 2005 at
9:00 a.m. in Courtroom 1, ttth Floor of the Federa| Building, Nlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

q\
lT is so oRoERED this 2§ day or Juiy, 2005.

§§,au\

U|EL BREEN
UN|T D STATES D|STR|CT JUDGE

 

Tth document entered on the docket s' eegzn §omp;'lan ,3
with Flule 55 and/or 32(b) FRC:P on l .-' (§5

    
 
 
 
 

  

       
 

UNITD sATES ISTRICT COURT - WETERN DISITRCT OF TENNESSEE

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This notice confirms a copy ot` the document docketed as number 65 in
case 2:04-CR-20159 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Joseph C. Murphy

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Honorable J. Breen
US DISTRICT COURT

